AO 472Case     5:07-cr-50072-TS-MLH
       (Rev. 3/86) Order of Detention Pending Trial            Document 23             Filed 08/22/07            Page 1 of 1 PageID #: 41
      U .S. D istrict C ourt
W estern D istrict of Louisiana
 R obert H . Shemw ell, C lerk
         REC EIVED
D ate: 08-22-07                                    UNITED STATES DISTRICT COURT
By       S. E. M cInnis
                                                         WESTERN DISTRICT OF LOUISIANA

           UNITED STATES OF AMERICA                                                                  ORDER OF DETENTION PENDING TRIAL
                  V.

            GEOFFREY G. VICE                                                                       CASE NO.      07-50072-01
                       Defendant


      In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the detention
of the defendant pending trial in this case.
                                                                 Part I - Findings of Fact

[ ] (1)    The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state or local offense that
           would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
           [ ]     a crime of violence as defined in 18 U.S.C. § 3145(a)(4).
           [ ]     an offense for which the maximum sentence is life imprisonment or death.
           [ ]     an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                  .*
           [ ]     a felony was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)(A)(C),
                   or comparable state or local offenses.
[ ] (2)    The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state, or local offense.
[ ] (3)    A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for the offense described
           in finding (1).
[ ] (4)    Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the safety of
           (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.

                                                                        Alternative Findings (A)

[ ] (1)    There is probable cause to believe that the defendant has committed an offense

           [ ]     for which a maximum term of imprisonment of ten years or more is prescribed in                                                                     .
           [ ]     under 18 U.S.C. § 924(c).

[ ] (2)    The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure the
           appearance of the defendant as required and the safety of the community.

                                                                        Alternative Findings (B)

[ ] (1)    There is a serious risk that the defendant will not appear.

[ ] (2)    There is a serious risk that the defendant will endanger the safety of another person or the community.




                                                       Part II - Written Statement of Reasons for Detention

     I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence - continuing criminal activity) (a
preponderance of the evidence - flight risk) that

                      DEFENDANT DOES NOT CONTEST THE GOVERNMENT'S MOTION FOR DETENTION, RESERVING
                      HIS RIGHT TO REQUEST A HEARING ON BOND IF HIS CIRCUMSTANCES CHANGE .


                                                              Part III - Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity
for private consultation with defense counsel. On order of court of the United States or on request of an attorney for the Government, the person in charge of the
corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

Date:         AUGUST 22, 2007

*Insert as applicable:
(a) Controlled Substances Act (21 U.S.C. § 801 et seq.);
(b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or
(c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a.)
